                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


DAVID E. CROZIER                                    )
                                                    )
               Petitioner,                          )
                                                    )
v.                                                  )       3:03-cv-116
                                                    )       3:97-cr-154
                                                    )       Jarvis
                                                    )
UNITED STATES OF AMERICA                            )
                                                    )
               Respondent.                          )


                                MEMORANDUM OPINION


       This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255.

For the following reasons, the § 2255 motion will be DENIED and this action will be

DISMISSED. All other pending motions will be DENIED as MOOT.




I. Standard of Review


       This court must vacate and set aside petitioner's conviction upon a finding that "there

has been such a denial or infringement of the constitutional rights of the prisoner as to render

the judgment vulnerable to collateral attack." 28 U.S.C. § 2255. To prevail under § 2255,

petitioner "must show a 'fundamental defect which inherently results in a complete

miscarriage of justice,' or, an error so egregious that it amounts to a violation of due process."



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United States v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990) (quoting Hill v. United States,

368 U.S. 424, 428 (1968)).

         Under Rule 8 of the Rules Governing Section 2255 Proceedings In The United States

District Courts, the court is to determine after a review of the answer and the records of the

case whether an evidentiary hearing is required. If the motion to vacate, the answer and the

records of the case show conclusively that petitioner is not entitled to relief under § 2255,

there is no need for an evidentiary hearing. Baker v. United States, 781 F.2d 85, 92 (6th Cir.

1986).




II.      Factual Background


         Petitioner and co-defendant, Charles W. Burton, were charged, in a nine-count second

superseding indictment, of the following: conspiracy to distribute and possess with intent to

distribute various controlled substances (count one); armed robbery of a pharmacy (count

two); using and carrying a firearm during and in relation to a crime of violence (count three);

being a felon in possession of a firearm (count four referred to Burton and count five referred

to petitioner); possession with intent to distribute Schedule II controlled substances (count

six); possession with intent to distribute a Schedule III controlled substance (count seven);

possession with intent to distribute a Schedule IV controlled substance (count eight); and

using and carrying a firearm during and in relation to a drug trafficking crime (count nine).

[Criminal Action No. 3:97-cr-154, Court File No. 71, Second Superseding Indictment].

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       Following a bench trial, petitioner was found guilty of the drug conspiracy and was

acquitted on all other charges. Petitioner was sentenced as a career offender to a term of

imprisonment of 215 months. His conviction was affirmed on direct appeal. United States

v. Crozier, 259 F.3d 503 (6th Cir. 2001), cert. denied, 534 U.S. 1149 (2002).

       On direct appeal, petitioner argued that the evidence was not sufficient to support a

conviction on the conspiracy charge. The Sixth Circuit first summarized the evidence, with

reference to discrete criminal activities, as follows:

              1. The Tennessee Rite-Aid Robbery

              On November 26, 1995, two armed gunmen robbed the Rite-Aid Drug
       Store in Clinton, Tennessee, and absconded with numerous pharmaceutical
       drugs, including Schedule II, Schedule III, and Schedule IV controlled
       substances. During the robbery, one of the robbers (later identified as Burton)
       repeatedly asked Katrina DeBusk, the Rite-Aid pharmacist, about the location
       of several drugs, including Dilaudid pills and morphine. Several days after the
       robbery, DeBusk helped police prepare a composite sketch of the first suspect
       in about fifteen minutes. Police worked on a composite of the second suspect
       (again, later identified as Burton) for approximately three hours but failed to
       produce a sketch satisfactory to DeBusk.

               Approximately one month later, DeBusk and Shelly Simonds, the only
       other Rite-Aid employee present during the robbery, separately identified
       Burton as one of the robbers from a photographic line-up. The Clinton Police
       Department, which uses black-and-white mug shots, had obtained Burton's
       photograph from the Lexington, Kentucky, Police Department, which uses
       color mug shots. Accordingly, Burton's photograph was the only color
       photograph shown to the witnesses. On March 6, 1998, both witnesses again
       identified Burton as the perpetrator, this time from a live line-up. Burton was
       the only person represented in both the photo line-up and the live line-up.

               Although neither witness was able to identify Crozier as Burton's
       accomplice during the robbery, Crozier's brother-in-law, Richard Randolph,
       testified at trial that in early December, Crozier showed him a bag containing


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  bottles of pharmaceutical drugs and told him that Crozier and Burton had
  obtained the drugs by robbing a Tennessee drugstore.

         2. The Kentucky Drug Sales

        In late November or early December 1995, in Lexington, Kentucky,
  Clayton Hobbs arranged for Burton to sell some drugs to Christopher Tucker.
  Hobbs drove Burton and an unidentified third man in a small car to Tucker's
  shop where Burton sold Tucker two boxes of pharmaceutical drugs. Tucker
  gave Burton $1,800 in one-hundred dollar bills. Tucker was unable to identify
  Crozier as the third man.

         The next day, as previously agreed, Burton and Hobbs returned to
  Tucker's shop, where Tucker gave Burton an additional one thousand dollars
  in one-hundred dollar bills. Tucker testified that this time, Burton and Hobbs
  were in a Cadillac Eldorado. On December 1, Burton paid six hundred dollars
  cash to a pawn shop for his previously-pawned Cadillac Eldorado. The United
  States thus argues that although Tucker could not recall the exact date of the
  drug sale, the drugs must have been sold on November 30, with the follow-up
  payment occurring on December 1.

         3. Casing the Lexington, Kentucky, Rite-Aid

         At approximately 4 p.m. on December 1, security personnel for the
  Rite-Aid Drug Store in Lexington observed Burton and Crozier enter the store
  together, walk around separately, and eventually meet up at the pharmacy.
  Burton made a purchase and left the store, only to return a short time later,
  stay awhile, then leave. Burton again returned and after fifteen or twenty
  minutes, met up with Crozier. The two split up again, ultimately leaving the
  store separately. A short while later, Burton again returned, and spent
  approximately five minutes paying particular attention to the cash registers'
  and employees' locations. Crozier also re-entered the store but remained near
  the front. Burton finally ended this episode by placing a Tylenol bottle in his
  pocket. When confronted by security, a fight ensued, resulting in Burton's
  arrest and Crozier fleeing the scene. Police found syringes, $1,557 in cash
  (including fifteen one-hundred dollar bills), and a number of Dilaudid pills on
  Burton. Shortly after Burton's arrest, his girlfriend pawned two handguns, one
  of which matched the description DeBusk had given of the gun she saw during
  the Tennessee Rite-Aid robbery.



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               On December 6, police officers executed a parole violation warrant on
       Burton. It was while Burton was being held on that charge that the Lexington
       Police Department forwarded Burton's color mug shot to the Clinton Police
       Department in Tennessee. Burton remained incarcerated for parole violations
       for the remaining time relevant to this appeal.

                 4. The Somerset, Kentucky, Drugstore Burglary

              On February 8, 1996, Randolph and Crozier's son, Brett, burglarized
       a Somerset, Kentucky, drugstore and brought the drugs to Crozier. Some of
       those drugs were then taken to Clayton Hobbs, while Crozier, Randolph, and
       a man named Charlie Henderson sold the morphine obtained in the burglary
       to someone in Georgetown, Kentucky, for one thousand dollars.

               During the time relevant to this appeal, Crozier was living on
       Limestone Street in Somerset, while Crozier's wife lived on White Street.
       Although Crozier often visited and occasionally stayed overnight at his wife's
       home, he maintained his own residence. On February 12, police officers
       executed search warrants at both the Limestone Street and White Street
       residences. The search of Crozier's Limestone Street residence revealed one
       bottle of pharmaceutical drugs and a ledger reflecting indebtedness to Crozier
       by Burton for one thousand dollars, and by “Clayton” for eight hundred
       dollars. The search of Crozier's wife's White Street residence revealed two
       bags containing a large number of pharmaceutical drugs in wholesale-sized
       bottles, and eight-hundred forty-five dollars in Crozier's wallet. Some of those
       bottles were traceable to the Somerset drugstore and others were consistent
       with drugs taken during the Tennessee Rite-Aid robbery. Although Crozier
       was present at the White Street address during the search, Crozier's
       fingerprints were not found on any of the seized booty.

Id. at 507-09.

       The Sixth Circuit then concluded the evidence was sufficient to support the

convictions:

             The United States presented the following facts as evidence that
       Crozier and Burton were involved in a drug conspiracy: 1) Crozier and Burton
       asked their parole officer for permission to work together; 2) Crozier and
       Burton were caught on security tape casing the Kentucky Rite-Aid; 3) a ledger
       was found in Crozier's house reflecting that Burton owed him one thousand

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         dollars, and that “Clayton” (presumably Clayton Hobbs) owed him eight
         hundred dollars; 4) a large quantity of pharmaceutical drugs in wholesale
         bottles, consistent with some of the drugs taken during the Tennessee Rite-Aid
         robbery, were found in Crozier's wife's house; and 5) Richard Randolph,
         Crozier's brother-in-law, testified that Crozier told him that Crozier and
         Burton had obtained a number of pharmaceutical drugs during a Tennessee
         drugstore robbery. This evidence, though all of it circumstantial, was
         sufficient to allow the district court to find that Crozier was guilty of
         conspiracy beyond a reasonable doubt.

Id. at 517-18.

         In support of his § 2255 motion to vacate sentence, petitioner alleges numerous

instances of ineffective assistance of counsel. He also alleges that the government withheld

evidence, in violation of its obligations under Brady v. Maryland, 373 U.S. 83 (1963) and

Giglio v. United States, 405 U.S. 150 (1972), and that the court erred in sentencing him as

a career offender.




III.     Discussion



                             A. Ineffective Assistance of Counsel


         In Strickland v. Washington, 466 U.S. 668 (1984) the United States Supreme Court

established a two-part standard for evaluating claims of ineffective assistance of counsel:

         First, the defendant must show that counsel's performance was deficient. This
         requires showing that counsel made errors so serious that counsel was not
         functioning as the "counsel" guaranteed the defendant by the Sixth
         Amendment. Second, the defendant must show that the deficient performance


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       prejudiced the defense. This requires showing that counsel's errors were so
       serious as to deprive the defendant of a fair trial, a trial whose result is reliable.

Id. at 687.

       To establish that his attorney was not performing "within the range of competence

demanded of attorneys in criminal cases," McMann v. Richardson, 397 U.S. 759, 771 (1970),

petitioner must demonstrate that the attorney's representation "fell below an objective

standard of reasonableness." Strickland v. Washington, 466 U.S. at 687-88. In judging an

attorney's conduct, a court should consider all the circumstances and facts of the particular

case. Id. at 690. Additionally, "a court must indulge a strong presumption that counsel's

conduct falls within the wide range of reasonable professional assistance; that is, the

defendant must overcome the presumption that, under the circumstances, the challenged

action 'might be considered sound trial strategy.'" Id. at 689 (quoting Michel v. Louisiana,

350 U.S. 91, 101 (1955)).

       The issue is whether counsel's performance "was so manifestly ineffective that defeat

was snatched from the hands of probable victory." United States v. Morrow, 977 F.2d 222,

229 (6th Cir. 1992) (en banc). Because he is seeking relief under § 2255, petitioner bears the

burden of proving by a preponderance of the evidence that his counsel was deficient. See

Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006). As noted, petitioner alleges

several instances of ineffective assistance of counsel, each of which the court will consider

in turn.




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1. Failure to argue petitioner's innocence as to count one.

       Petitioner claims he is factually innocent of the drug conspiracy and that both his trial

attorney and his attorney on direct appeal failed to argue his innocence. Petitioner goes on,

however, to challenge the sufficiency of the evidence against him. On direct appeal, the

Sixth Circuit considered and rejected petitioner's claim that the evidence was not sufficient

to convict him of conspiracy. United States v. Crozier, 259 F.3d at 517-18. Petitioner cannot

use a § 2255 proceeding to relitigate issues decided adversely to him on direct appeal. See,

e.g., DuPont v. United States, 76 F.3d 108, 110 (6th Cir. 1996). Accordingly, this claim

lacks merit.



2. Failure to raise the Brady and Giglio claims, and the claimed sentencing error.

       Petitioner alleges his attorneys failed to raise these claims. Elsewhere in this opinion,

however, the court has found these claims lack merit. [Section III., B., pp. 15-18, and C., p.

18, respectively, infra]. The failure of defense counsel to pursue frivolous motions and

objections cannot constitute ineffective assistance of counsel. United States v. Hanley, 906

F.2d 1116, 1121 (6th Cir. 1990). Likewise, an attorney is not required to raise meritless

issues on appeal. Mathews v. United States, 11 F.3d 583, 585 (6th Cir. 1993). According,

petitioner has failed to state a claim of ineffective assistance of counsel in this regard.




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3. Failure to conduct an investigation or employ a defense.

       Petitioner alleges his attorney failed to present a defense because he failed to call

witnesses as requested by petitioner, specifically Attorney Mark Stanziano, Charlie

Henderson, Steve Coffey, and Edna Randolph Boyer. Petitioner does not state what

testimony Attorney Mark Stanziano would have offered.

       Presumably, Charlie Henderson would have contradicted Randolph's testimony that

Henderson drove petitioner and Randolph to Georgetown, Kentucky, to sell drugs to Steve

Coffey. Steve Coffey would allegedly have testified that he had never met petitioner, let

alone purchased drugs from him. Again, such testimony would have contradicted Randolph's

testimony that he saw petitioner take drugs to Georgetown to sell to Coffey. Edna Randolph

Boyer would allegedly have testified that Richard Randolph told her, two days prior to trial,

that he did not want to testify against petitioner.

       All of this alleged testimony would have been used to impeach the testimony of

Richard Randolph. As the court has noted elsewhere in this opinion, however, Randolph was

vigorously cross-examined at trial and his credibility impeached. [Section III., B., p. 17,

infra]. Thus, counsel's alleged failure to call the witnesses requested by petitioner did not

render the trial unfair or the result unreliable. Austin v. Bell, 126 F.3d 843, 847 (6th Cir.

1997); Lockhart v. Fretwell, 506 U.S. 364, 369 (1993).




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4. Failure to inform petitioner of the elements of the offense and potential sentence.

       Petitioner states that his attorney told him of the government's plea offer of 18 to 36

months, but advised against pleading guilty because the government's case was weak and all

the evidence circumstantial. Petitioner alleges that counsel's failure to adequately explain

the elements of the offense and the required proof of those elements, together with his failure

to inform petitioner of the potential sentence he might be exposed to, renders petitioner's

decision to go to trial unknowing and involuntary. According to petitioner, had he been

properly advised of the government's evidence and the potential sentence, he would have

pleaded guilty in spite of his innocence.

       A defendant is entitled to the effective assistance of counsel in deciding whether to

accept or reject the government's plea offer. See, e.g., Turner v. State of Tennessee, 858 F.2d

1201, 1205 (6th Cir. 1988) (the right to the effective assistance of counsel extends to the

decision to reject a plea offer); United States ex rel. Caruso v. Zelinsky, 689 F.2d 435, 438

(3rd Cir. 1982) ("the decision to reject a plea bargain offer and plead not guilty is also a

vitally important decision and a critical stage at which the right to effective assistance of

counsel attaches"); Beckham v. Wainwright, 639 F.2d 262, 267 (5th Cir. 1981) (incompetent

advice to withdraw a guilty plea and stand trial violates a defendant's right to effective

assistance of counsel).

       However, "there is a significant difference between the consequences emanating from

a decision to reject a plea agreement and not plead guilty and the decision to enter a guilty

plea." Johnson v. Duckworth, 793 F.2d 898, 901 (7th Cir. 1986). "The rejection of a plea

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agreement, in most instances, will result in the defendant going to trial with all of the

concomitant constitutional safeguards that are part and parcel of our judicial process." Id.

at 900.

          The government admits there was a proposed plea agreement, a copy of which is

attached as an exhibit to the government's response. [Court File No. 7, Response to § 2255

motion, Exhibit 1]. The government denies that petitioner was offered a sentence of 18 to

36 months. As evidenced by the proposed plea agreement, petitioner was facing a term of

imprisonment of up to 20 years in return for his plea of guilty to the drug conspiracy. [Id.

at 1]. The plea agreement also provided, in relevant part, as follows:

                  The Defendant acknowledges that he understands his case is governed
          by the Sentencing Guidelines and that any term of imprisonment imposed
          under the Guidelines is nonparolable. The Defendant acknowledges that no
          representations have been made to him by any representative of the United
          States regarding actual Sentencing Guidelines calculations in this case. The
          Defendant further acknowledges that he understands that any estimates or
          predictions made in this case by his attorney or any other person regarding
          application of the Sentencing Guidelines were merely predictions or estimates,
          and that the final decision as to application of the Sentencing Guidelines and
          his ultimate sentence will be made by the Court. The Defendant further
          acknowledges that he understands the Court will not be able to determine the
          Defendant's Sentencing Guideline range until it has received a presentence
          report from the United States Probation Office and any objections thereto from
          the parties. The Defendant understands that he will not be permitted to
          withdraw from this plea agreement nor withdraw his guilty plea based upon
          estimates anyone may have made as to his possible sentence.

[Id. at 2, ¶ 2]. The proposed plea agreement further provided that petitioner's sentence would

be "based upon the entire scope of his criminal conduct, his criminal history, and pursuant

to other factors and guidelines set forth in the Sentencing Guidelines." [Id. at 3, ¶ 6].


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       In addition, the record reflects that petitioner learned prior to trial that he would be

sentenced as a career offender; in fact, that was the basis of his decision to not enter a plea

of guilty. [Criminal Action No. 3:97-cr-154, Court File No. 177, Transcript of Proceedings,

p. 4]. Apparently, petitioner's attorney had originally (and incorrectly) determined that

petitioner's prior convictions would not count for purposes of sentencing as a career offender.

Upon learning that the prior convictions would count, petitioner reconsidered his decision

to plead guilty. Under the circumstances, petitioner's claim that his decision to stand trial

was not voluntary based upon ineffective assistance of counsel is clearly without merit.



5. Failure to move to suppress evidence.

       Petitioner alleges his attorney should have moved to suppress the ledger from the

Limestone Street residence, the surveillance videotape from the Kentucky Rite-Aid, and the

pharmaceutical drugs seized at the White Street residence. According to petitioner, failure

to file a motion to suppress constituted ineffective assistance of counsel.

       With respect to the ledger, petitioner claims it was not made available to the defense

prior to trial, in violation of the request for discovery. There is nothing in the record,

however, to suggest that the late receipt of the ledger hampered petitioner's attorney in his

defense and thus there was no basis upon which counsel should have moved to suppress

evidence of the ledger.

       Petitioner alleges the videotape should have been suppressed because it had been

spliced for training purposes by the Kentucky Rite-Aid security officers. The claim that the

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videotape was altered goes to the weight to be accorded the evidence, not the admissibility

of the evidence. Therefore, petitioner's attorney did not render ineffective assistance of

counsel by failing to move to suppress the videotape.

       Petitioner bases his challenge to the drugs on the fact that Agent Chris Hacker testified

that the drugs were seized on February 10, 1996, although the search warrants were not

issued until February 12, 1996. Agent Hacker testified that, on February 12, 1996, he

assisted in collecting evidence after the execution of three search warrants. [Criminal Action

No. 1:97-cr-154, Court File No. 178, Transcript of Proceedings, pp. 169-71]. When asked

about a certain bag with writing on it, which contained items taken from the White Street

residence, Agent Hacker testified it was his writing and noted that the date of recovery was

"2-10-96." [Id. at 173]. Petitioner claims the drug were subject to suppression based upon

this testimony.

       Agent Hacker specifically testified, however, that he collected the evidence after the

execution of the search warrant and petitioner's arrest. [Id. at 171]. In addition, Douglas

Ralph Nelson, a detective with the Somerset Police Department, testified that he participated

in the execution of three search warrants on February 12, 1996, including that of the White

Street residence. [Criminal Action No. 1:97-cr-154, Court File No. 178, Transcript of

Proceedings, pp. 137-38].

       Agent Hacker's error, whether in his testimony or in his writing on the evidence bag,

is not material. Accordingly, any motion to suppress the evidence of the drugs seized at the



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White Street residence would have been frivolous. Petitioner has failed to state a claim of

ineffective assistance of counsel in this regard.



6. Failure to move to dismiss based upon a speedy trial violation.

       Petitioner alleges his rights under the Speedy Trial Act, 18 U.S.C. § 3161, were

violated and thus his attorney should have moved to dismiss the case on that basis.

According to petitioner, his trial was continued twice. All trial continuances were the result

of motions to continue filed by the defendants, however, and the court each time found that

the time between the old and new trial dates was excludable under the Speedy Trial Act. [Id.,

Court File Nos. 88 and 113].

       Petitioner also alleges that, although he was brought before the court pursuant to a

writ of habeas corpus ad prosequendum, he was not given sufficient notice to contest the

legality of his delivery, as required by 18 U.S.C. § 3161(j). Violation of the notice

requirement of § 3161(j), however, is not a basis for dismissal of a criminal case. See, e.g.,

United States v. Mercedes, 287 F.3d 47, 53 n.7 (7th Cir. 2002) ("dismissal of the indictment

is not an authorized remedy for a violation of § 3161(j)"). Accordingly, any motion to

dismiss based upon alleged speedy trial violations would have been frivolous, and petitioner's

attorney did not render ineffective assistance in failing to make such a motion.

       Based upon the foregoing, petitioner has failed to demonstrate ineffective assistance

of counsel under the standard established by the Supreme Court in Strickland.



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                                 B. Brady and Giglio Claims


       Petitioner alleges the government withheld evidence, in violation of its obligations

under Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405 U.S. 150

(1972). In Brady, the Supreme Court held that "suppression by the prosecution of evidence

favorable to an accused upon request violates due process where the evidence is material

either to guilt or to punishment, irrespective of the good faith or bad faith of the prosecution."

373 U.S. at 86. Impeachment evidence as well as exculpatory evidence "falls within the

Brady rule." United States v. Bagley, 473 U.S. 667, 676 (1985). "Favorable evidence is

material, and constitutional error results from its suppression by the government, 'if there is

a reasonable probability that, had the evidence been disclosed to the defense, the result of the

proceedings would have been different.'" Kyles v. Whitley, 514 U.S. 419, 433-34 (1995)

(quoting Bagley, 473 U.S. at 682).

       In Giglio, the Supreme Court considered a situation where the prosecution withheld

from the jury the fact that it had promised a key witness that he would not be prosecuted for

his part in a crime if he testified against his companion. Because the witness's credibility was

a key issue, the Court found that the government's conduct violated due process and the

defendant was entitled to a new trial. 405 U.S. at 154-55. Giglio, along with Brady and

Bagley convey the doctrine "that it is fundamentally unfair for the government to achieve a

conviction through the concealment of evidence which undermines the strength of the




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government's case against a defendant." United States v. Presser, 844 F.2d 1275, 1282-83

(6th Cir. 1988).

       Petitioner's Brady/Giglio claims concern, first, the testimony of petitioner's brother-in-

law, Richard Randolph, who petitioner alleges has recanted his testimony. Randolph testified

at trial that petitioner had bragged to him about robbing a Tennessee pharmacy with co-

defendant Burton; Randolph testified that, at the time, petitioner showed him a black bag

with several bottles of pills in it. [Criminal Action No. 3:97-cr-154, Court File No. 178,

Transcript of Proceedings, pp. 13-14].

       Randolph also testified that several months later, he, Randolph, along with petitioner's

teen-aged son Bret burglarized a pharmacy in Somerset, Kentucky, and stole drugs. [Id. at

15-17]. According to Randolph, he and Bret Crozier took the drugs back to petitioner's

house and petitioner took some of the drugs and sold them. [Id. at 17-20].

       Petitioner has now submitted an unsworn "Affidavit" purportedly signed by Richard

Randolph, in which he states as follows:

               I was coerced and pressured by local and Federal authorities to testify
       false statements against David L. Crozier and Charles W. Burton during a
       Federal trial held in the Eastern District Of Tennessee at Knoxville on or about
       April 6, 1999. The statements I made during said trial were untrue[;] however
       I made those statements due to threats made against me and my family by local
       and Federal authorities.

[Court File No. 5, Memorandum of Law in Support of Motion to Vacate Sentence, Exhibit

A, Affidavit].




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       Petitioner has also submitted a letter purportedly from Michael Phelps, who states that

while working as the Family Services Office Supervisor for the Department for Social

Services in Somerset, Kentucky, he was called to the Operation Hope emergency shelter to

look at a young man the police had brought in. According to Phelps, it was Bret Crozier and

he appeared battered, with a broken nose and contusions on his face. Bret Crozier told

Phelps that the city police came to his house looking for his father, placed Bret in handcuffs

and manacles, and one officer pulled his feet out from under him, causing Bret to fall on his

face. [Id., Exhibit B].

       According to petitioner, these documents are evidence of the government's intent to

get petitioner off the street at any cost, including coercing Randolph to lie at trial. Petitioner

argues that, not only did the prosecution fail to provide the exculpatory evidence that

Randolph's testimony was coerced, the prosecution specifically directed Randolph to

suppress this evidence during his testimony.

       There is nothing in the record to support petitioner's allegations, other than the

unsworn "affidavit" purportedly signed by Randolph. Randolph was subjected to a rigorous

cross-examination at trial; the inconsistencies in his testimony were highlighted, his

credibility was impeached, and his motive to fabricate was clearly demonstrated. Randolph's

alleged claim now that he testified falsely fails to carry any weight with this court. The court

specifically notes that, during his direct testimony at trial, Randolph testified that he had not

been threatened in any way by anyone with the government. [Criminal Action No. 3:97-cr-

154, Court File No. 178, Transcript of Proceedings, p. 10]. Accordingly, the court finds that

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petitioner's conviction was not achieved through the concealment of evidence by the

government. Petitioner is not entitled to relief based upon his Brady and Giglio claims.



                                      C. Career Offender


       Petitioner alleges the court erred in sentencing him as a career offender. He concedes

that he met the definition of a career offender, as set forth in U.S.S.G. § 4B1.1. Petitioner

claims, however, that he has sought to reopen a conviction from the Pulaski County Circuit

Court in order to expunge that conviction and, for that reason, he asks the court to stay these

proceedings until he has done so. There is no basis for the court to stay proceedings as

requested by petitioner, nor is there any other basis for granting relief on this claim. See, e.g.,

Smith v. United States, 262 F.3d 537 (6th Cir. 2001) (defendant could not use § 2255 to

vacate federal sentence on ground that state convictions used to enhance federal sentence

were unconstitutional).




IV.    Conclusion


       Petitioner is not entitled to relief under § 2255 and his motion to vacate, set aside or

correct sentence will be DENIED. This action will be DISMISSED. In addition to the

above, this court CERTIFIES that any appeal from this action would not be taken in good

faith and would be totally frivolous. Therefore, this court will DENY petitioner leave to


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proceed in forma pauperis on appeal. See Rule 24 of the Federal Rules of Appellate

Procedure. Petitioner having failed to make a substantial showing of the denial of a

constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. § 2253;

Rule 22(b) of the Federal Rules of Appellate Procedure.


      AN APPROPRIATE ORDER WILL ENTER.


                                                       s/ James H. Jarvis
                                                    United States District Judge




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